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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

__________________________________________
In re:                                     ) Chapter 11
                                           )
FTX TRADING LTD., et al., 1                ) Case No. 22-11068 (JTD)
                                           )
                  Debtors                  ) (Joint Administration)
                                           )

                          NOTICE OF APPEARANCE BY THE
                    COMMODITY FUTURES TRADING COMMISSION
                 AND CERTIFICATION OF U.S. GOVERNMENT ATTORNEY

         PLEASE TAKE NOTICE THAT the undersigned attorney is appearing on behalf of the

Commodity Futures Trading Commission, an agency of the United States government. Notices

and papers that are required to be served on the Commodity Futures Trading Commission should

be served upon me at the following addresses (including email address), telephone, and facsimile

number:

Martin B. White
Senior Assistant General Counsel
Commodity Futures Trading Commission
1155 21st Street NW
Washington, DC, 20581
(202) 993-1390
mwhite@cftc.gov

         PLEASE TAKE FURTHER NOTICE THAT I hereby submit the following certification

of a U.S. government attorney in compliance with Local Rule 9010-1(e)(i):

         1.       I am admitted to the bars of the United States District Court for the District of

Columbia, the United States Courts of Appeals for the Second and Ninth Circuits, the District of



1
 The last four digits of FTX Trading Ltd.’s tax identification number are 3288. Due to the large number of debtor
entities in these Chapter 11 cases, a complete list of the debtors and the last four digits of their tax identification
numbers is not provided herein. A complete list can be obtained on the website of the claims and noticing agent at
https://cases.ra.kroll.com/FTX.
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Columbia (D.C. Bar No. 221259), and the state of Maryland (Md. Bar No. 741201387).

       2.      I am in good standing in all jurisdictions where I am admitted.

       3.      I will be bound by the Local Rules of the United States Bankruptcy Court for the

District of Delaware, and submit to the jurisdiction of this Court for disciplinary purposes.

       PLEASE TAKE FURTHER NOTICE that this Notice of Appearance and Certification of

Government Attorney does not waive rights to (i) have final orders in non-core matters entered

only after de novo review by a district court judge; (ii) trial by jury in any proceeding so triable

in these cases or any case, controversy, or proceeding related to these cases; (iii) have the District

Court withdraw the reference in any matter subject to mandatory or discretionary withdrawal; or

(iv) any other rights, claims, actions, setoffs, recoupments to which the Commodity Futures

Trading Commission may be entitled.

                                                       /s/ Martin B. White
                                                       Martin B. White
                                                       Senior Assistant General Counsel
                                                       Commodity Futures Trading Commission
                                                       1155 21st Street NW
                                                       Washington, DC, 20581
                                                       (202) 993-1390
                                                       mwhite@cftc.gov

                                 CERTIFICATE OF SERVICE

       On May 1, 2023, I caused a copy of the foregoing to be served electronically by the
Court’s ECF system on persons who have entered an appearance in this proceeding.

                                                       /s/ Martin B. White




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